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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 PETERSEN ENERGIA INVERSORA,
 S.A.U. and PETERSEN ENERGIA, S.A.U.,
                        Plaintiffs,
                -against -                                  Case No. 1:15-CV-02739 (LAP)

 ARGENTINE REPUBLIC and YPF S.A.,
                        Defendants.
 ETON PARK CAPITAL MANAGEMENT,
 L.P., ETON PARK MASTER FUND, LTD.,
 and ETON PARK FUND , L.P.,
                        Plaintiffs,
                  -against-                                 Case No. 1:16-CV-08569 (LAP)

 ARGENTINE REPUBLIC and YPF S.A.,
                        Defendants.


                       STIPULATION AND [PROPOSED] ORDER
                            PURSUANT TO F.R.E. 502(d)
       Plaintiffs Petersen Energia Inversora, S.A.U., Petersen Energia, S.A.U., Eton Park

Capital Management, L.P., Eton Park Master Fund, Ltd., and Eton Park Fund , L.P.; Defendants

Argentine Republic and YPF S.A.; and Burford Capital LLC (“Burford”), by and through their

undersigned counsel, hereby agree and stipulate to entry of the following order pursuant to

Federal Rule of Evidence (“F.R.E.”) 502(d) (the “Consent Order”) concerning documents and

information over which Plaintiffs and Burford have heretofore asserted or anticipate asserting

privileges and protections, including the attorney-client privilege, the work-product doctrine and

the common interest doctrine.
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          WHEREAS, at the February 18, 2021 status hearing, after the parties had briefed the

applicability of certain privileges and protections to Plaintiffs’ documents, the Court declined to

make a ruling on the applicability of any privilege on a “wholesale basis”; and

          WHEREAS, the Court further ordered during the February 18, 2021 hearing that the

parties meet and confer with respect to the resolution of Defendants’ challenge to Plaintiffs’

privilege claims, and suggested the possibility of in camera review of a limited number of

documents to determine the applicability of the claimed privilege or protection; and

          WHEREAS, Plaintiffs and Burford intend to produce to Defendants certain documents

and information over which they assert claims of privilege or work product protection; and

          WHEREAS, although Plaintiffs and Burford wish to facilitate the elimination of

discovery disputes, Plaintiffs and Burford do not intend or wish to waive any applicable legal

privileges they are entitled to assert over any document or information that they have withheld or

could withhold on grounds of privilege, work product or other protection; and

          WHEREAS, the parties have met and conferred concerning the scope of this Consent

Order, and Plaintiffs and Burford have represented that the documents and information being

disclosed pursuant to this Consent Order will be clearly identified and designated separately

from any documents and information for which Plaintiffs or Burford elect to withdraw a

previously asserted claim of privilege, work product or other protection (which will be separately

identified).

          NOW THEREFORE IT IS HEREBY AGREED [AND ORDERED]:

     1.          Pursuant to this Consent Order, Plaintiffs and Burford (each, a “Disclosing

Party”) may produce certain documents and information to Defendants (each, a “Receiving

Party”) over which the Disclosing Party nevertheless asserts privileges or protections, including



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documents and information over which the Disclosing Party has previously asserted privileges

and protections, said privileges and protections including the attorney-client privilege, the work-

product doctrine and the common interest doctrine (the “Disclosed Protected Information”).

     2.         The Disclosing Party shall clearly identify each document included in the

Disclosed Protected Information by Bates number, and shall identify the entry in their previously

provided or forthcoming privilege log that corresponds to each document.

     3.         Pursuant to F.R.E. 502(d), the disclosure of the Disclosed Protected Information

shall not constitute or be deemed a waiver or forfeiture of any claim of privilege or protection

that the Disclosing Party would otherwise be entitled to assert with respect to the Disclosed

Protected Information and its subject matter, and no person shall argue in this or any other

forum, proceeding, or investigation that the production of Disclosed Protected Information

pursuant to this Consent Order constitutes a waiver of any privilege or protection as to the

particular Disclosed Protected Information produced or constitutes a subject matter waiver with

respect to any other document or information relating to the subject of Disclosed Protected

Information produced pursuant to this Consent Order.

     4.         If any Receiving Party determines that it may disclose to the Court or in a

deposition or court filing any of the Disclosed Protected Information to support its claims or

defenses, or for any other purpose, in this litigation, it shall provide written notice to the

Disclosing Party at least 14 days prior to such use (except that a Receiving Party may provide

such notice with respect to up to 10 documents at least 3 days prior to such use (“Short-Notice

Documents”)). If the Disclosing Party determines, upon receipt of such notice, that it wishes to

claw back such Disclosed Protected Information, it shall do so within 7 days (2 days with respect

to Short-Notice Documents) of receipt of such written notice (the “Claw Back Notice”). Unless



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it contests the claim of privilege or protection with respect to such Disclosed Protected

Information, the Receiving Party shall, within 14 days of receipt of the Claw Back Notice, return

or destroy all copies of the Disclosed Protected Information and provide a certification of

counsel that all such Disclosed Protected Information has been returned or destroyed. If the

Receiving Party contests the claim of privilege or protection as to any of the clawed-back

Disclosed Protected Information, the Receiving Party must—before it discloses the Disclosed

Protected Information pursuant to this Paragraph 4—move the Court for an Order compelling

production of the Disclosed Protected Information (a “Privilege Motion”). The Disclosing Party

shall have the burden of demonstrating the applicability of the privilege in accordance with

applicable law on any Privilege Motion. The Privilege Motion shall not assert as a ground for

entering such an Order the fact or circumstances of the prior disclosure of the Disclosed

Protected Information pursuant to this Order. Pending resolution of the Privilege Motion, the

Receiving Party must not disclose the Disclosed Protected Information to any person other than

those required by law to be served with a copy of the Privilege Motion. Disclosed Protected

Information that has been the subject of a written notice pursuant to this Paragraph 4 and that has

not been clawed back may be used by the Receiving Party in the above-captioned cases (i)

subject to the Disclosing Party’s and Plaintiffs’ rights to object to such use on any and all

grounds other than privilege or protection, and (ii) in accordance with Paragraph 3, above, such

use shall not constitute or be deemed a waiver or forfeiture of any claim of privilege or

protection by Disclosing Party.

    5.         Nothing in this Consent Order shall prevent any party from challenging any

assertion of privilege, protection or immunity over a document or information disclosed pursuant

to this Consent Order, or arguing that Plaintiffs or Burford have effected a subject matter waiver



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in connection with actions taken (or documents or information disclosed) other than disclosure

pursuant to this Consent Order. The challenging party shall be permitted to use any document or

information that is the subject of this Consent Order to challenge any assertion of privilege,

protection or immunity.

    6.         Documents and information disclosed under this Consent Order shall be subject

to, and afforded the protections of, Confidential Discovery Material as defined in the Protective

Order entered by the Court on September 29, 2020.

    7.         The parties will meet and confer after the disclosure contemplated by this Consent

Order about whether and how to pursue the Court’s proposal for in camera review of documents

withheld on the basis of privilege or any other protection that are not produced subject to this

Consent Order.



                                                   Respectfully submitted,

 SULLIVAN & CROMWELL LLP                           KELLOGG, HANSEN, TODD, FlGEL &
                                                   FREDERICK, P.L.L.C.

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                                                   Eton Park Fund, L.P.




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Counsel for Non-Party Burford Capital LLC


SO ORDERED:


Dated: New York, New York
       March __, 2021

                                        _____________________________
                                        LORETTA A. PRESKA
                                        Senior United States District Judge




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